        Case: 3:21-cv-00695-wmc Document #: 1 Filed: 11/05/21 Page 1 of 2




STATE OF WISCONSIN                    CIRCUIT COURT                     ROCK COUNTY


Gail S. Billups,
                                                             Case No.: 2021CV000523
       Plaintiff,                                                    Case Code:30101
                                                        Case Type: Personal Injury-Auto
vs.

State of Wisconsin Department of Health
Services, United Healthcare of Wisconsin,
Incorporated, Dean Health Plan,
Incorporated, Manitoba Public Insurance,
Transx Limited d/b/a Transportation
Transx Limited, and Eric S. Nickel

       Defendants.


                      NOTICE OF FILING NOTICE TO REMOVE




       On November 5, 2021, Defendants Manitoba Public Insurance, Transx Limited

d/b/a Transportation Transx Limited, and Eric S. Nickel filed their Notice of Removal of

Civil Action to the United States District Court with the United States District Court for

the Rock County Circuit Court of Wisconsin, a copy of which is attached hereto and

hereby served upon you.

       A copy of the Notice is being filed with the Court Clerk of Rock County Circuit

Court of the State of Wisconsin.
      Case: 3:21-cv-00695-wmc Document #: 1 Filed: 11/05/21 Page 2 of 2




Dated: November 5, 2021           Respectfully submitted,
                                  LIND JENSEN SULLIVAN & PETERSON,
                                  A PROFESSIONAL ASSOCIATION


                                  By: /s/ Brian A. Wood__________________
                                        Brian A. Wood (#1017051)
                                        Brandon D. Meshbesher (#1117491)
                                        Attorneys for Defendants
                                        Manitoba Public Insurance
                                        Transx Limited d/b/a
                                        Transportation Transx Limited
                                        And Eric S. Nickel
                                        1300 AT&T Tower
                                        901 Marquette Avenue South
                                        Minneapolis, Minnesota 55402
                                        (612) 333-3637
                                        Brian.wood@lindjensen.com
                                        Brandon.meshbesher@lindjensen.com




                                     2
